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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                           Office of the Clerk
        United States Courthouse
                                                                                          Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                          www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                      ORDER
April 7, 2025

By the Court:
                                     CALEB BARNETT, et al.,
                                             Plaintiffs - Appellees

Nos. 24-3060, 24-3061,
                                     v.
24-3062, & 24-3063

                                     KWAME RAOU, et al.,
                                            Defendants - Appellants
Originating Case Information:
District Court Nos: 3:23-cv-00209-SPM, 3:23-cv-00141-SPM, 3:23-cv-00192-SPM, 3:23-cv-00215-SPM
Southern District of Illinois
District Judge Stephen P. McGlynn


Upon consideration of the PLAINTIFFS-APPELLEES’ MOTION TO SET A BRIEFING
SCHEDULE, filed on April 4, 2025, by counsel for the appellees,

IT IS ORDERED that the motion is GRANTED. Briefing is reset as follows:

1. The brief and required short appendix of the appellants are due by May 7, 2025.

2. The briefs of the appellees are due by June 6, 2025.

3. The reply brief of the appellants, if any, is due by June 27, 2025.

Important Scheduling Notice!
Hearing notices are mailed shortly before the date of oral argument. Please note that counsel’s unavailability for oral
argument must be submitted by letter, filed electronically with the Clerk’s Office, no later than seven days after the
filing of the appellee’s brief. See Cir. R. 34(b)(3), (4). The court’s calendar is located at
http://www.ca7.uscourts.gov/cal/argcalendar.pdf. Once scheduled, oral argument is rescheduled only in
extraordinary circumstances. See Cir. R. 34(b)(4), (e).




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